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                        Exhibit B
                       to Declaration of Matthew Hooker
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                    DEPARTMENT OF THE ATTORNEY GENERAL
                             STATE OF HAWAII


IN RE INVESTIGATION OF:                             SUBPOENA DUCES TECUM



                                                    AG Subpoena No.      2 0 21 - 0 5 2
OPTUMRX, INC.


                                 SUBPOENA DUCES TECUM

TO:    OPTUMRX,
       c/o The Corporation Company, Inc.
       1136 Union Mall, STE 301
       Honolulu, HI 96813

         YOU ARE HEREBY COMMANDED, pursuant to the laws of the State of Hawai`i,
 including Haw. Rev. Stat. §§ 28-2.5, 480-18, and 661-22, to deliver and turn over to the
 Department of the Attorney General, State of Hawaii, all documents and information
 requested in Attachment A in accordance with the instructions and definitions contained
 therein within thirty (30) days after service of this Subpoena. You may deliver the documents
 and information to Hawai`i Special Deputy Attorney General Linda Singer, Motley Rice LLC,
 401 9th Street NW, Suite 1001, Washington, DC 20004.

        TAKE NOTICE that the Attorney General deems the documents requested by
 this Subpoena to be relevant and material to an investigation and inquiry undertaken in
 the public interest.

         TAKE FURTHER NOTICE that you are to continue and/or immediately
 implement a litigation hold preserving all documents relating to the subject matter hereof, as
 set forth in Attachment A, but not limited to the specific documents demanded therein.
 (Additional subpoenas may follow.)

         TAKE FURTHER NOTICE that Your disobedience of this Subpoena, by failing to
 deliver the documents and information requested in the attached Schedule on the date, time,
 and place stated above or on any agreed upon adjourned date or time, may subject You to
 penalties and other lawful punishment.

         YOU ARE HEREBY REQUESTED not to disclose the existence of this Subpoena
 while this investigation is pending. Disclosure of this Subpoena may impede a confidential
 investigation being conducted by the Attorney General.
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        OBEDIENCE to this subpoena may be enforced by the Circuit Court of the First Circuit.

        DATED:           Honolulu, Hawaii on the 15th day of October, 2021

 [ X]   If this box is checked, it may not be
        necessary to appear in person. To make
        other arrangements, please call
                                                 for
                                                           ATTORNEY GENERAL
                                                            STATE OF HAWAII

        Contact Person: Deputy Attorney General David D. Day
        Telephone Number: (808) 586-1346




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                                        RETURN OF SERVICE

Received this subpoena at                                on                           and

on                                          at

I served it on the within named by delivering a copy




Dated



         Signature of Serving Officer


RECIPIENT'S RIGHTS

       You have been served with an investigative subpoena issued by the Attorney
General of the State of Hawaii in accordance with section 28-2.5, Hawaii Revised Statutes,
to appear at the time and place specified, to give sworn testimony, and, if indicated, to
bring certain materials with you. Attendance is required only in the county in which the
subpoena is served or such other place as may be agreed upon by you and the issuing
authority. If the subpoena is served in a county other than that in which you reside, are
employed or transact business, the Department of the Attorney General shall bear the
expense of travel as provided by the rules of the court.

       If you disobey this subpoena, the Attorney General may apply to the circuit court in
the county in which you reside or are located to compel obedience. Prior to the date on
which you are commanded to appear, you may move the circuit court to quash or modify
the subpoena if compliance would be unreasonable or oppressive or violate any privilege
you may be entitled to exercise in a court proceeding.




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                                    ATTACHMENT "A"


                                      INSTRUCTIONS            ,

A.    In each instance in which a document is produced in response to a Request, the current
      version should be produced together with all earlier versions, or predecessor documents
      serving the same function during the relevant time period, even though the title of earlier
      documents may differ from current versions, as well as the time period that each version
      was used by You.

B.    The Subpoena Duces Tecum calls for all described documents in your possession,
      custody or control without regard to the person or persons by whom or for whom the
      documents were prepared (e.g., your company employees, contractors, vendors,
      distributors, service providers, competitors, or others).

C.    These Requests specifically include production of electronically stored information
      ("ESP').

      1.     General Instructions. A cover letter will accompany each production, identifying
             each piece of media (hard drive, thumb drive, DVD, CD, or FTP), the production
             date, production volume, and the Bates range of the production. Data will be
             produced on hard drive, thumb drive, DVD, CD, or FTP. Label all media with the
             following:

             a.      Case number
             b.      Production date
             c.      Production volume
             d.      Bates range
             e.      Media volume number (1 of X, 2 of X, etc.), if applicable.

      2.     Production Format for Electronically Stored Information. Production of all ESI is
             requested in either original native file format or as searchable image files, using
             production numbering as described below. Before being produced, all parent-level
             email and loose-file (non-email) ESI should be de-duplicated across all custodians
             and shared network drives based on MD5 hash value. Individual email
             attachments should not be separately de-duplicated. All ESI should be produced
             with a metadata field listing all custodians where duplicate documents were
             found. For ESI production in image format, if any documents cannot be
             reasonably be converted to readable images, the information should be produced
             in native format or some other reasonably usable format, and image production
             should include a placeholder image for each such unconverted or unreadable
             document setting forth the original filename and extension.

      3.     Production of Email. If produced in native format, email should be produced as
             individual, parent level, HTML files, and attachments to emails should
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            sequentially follow their parent emails and be produced in native format as
            separate files. If produced in searchable image format, parent emails and their
            attachments should be produced as separate, contiguous documents.

      4.    Production of Spreadsheets. Spreadsheets should be produced in native format if
            stored in that manner, and each native file should be named with a document
            production number as described below. If a spreadsheet contains privileged
            information, you may produce it as imaged ESI, with the privileged information
            redacted, provided that You make reasonable efforts in applying page layout
            settings to maximize document readability. Images of spreadsheets that contain
            multiple worksheets should be produced with worksheet names indicated in a
            header or footer. To the extent that print-outs or images of all or part of a
            spreadsheet were also maintained in the ordinary course of business in static form
            (e.g., as a pdf attachment), those documents should be produced as images to the
            extent such production is not duplicative.

      5.    Production of Database Information. Relevant information from a database should
            be produced as a report or data table, either in a static image format or in a
            popular database application, such as an Microsoft Access database.

      6.    Production of ESI Commentary and Tracked Changes. Microsoft Word,
            Microsoft Excel, and similar file formats that provide for comments or tracked
            changes should be produced in a manner in which all comments and tracked
            changes are preserved, accessible, and viewable in their original color format.
            Such production may be in native format.

      7.    Production of Paper Documents. Scanned paper document production must have
            natural, logical document breaks and should include, where available, copies of
            file folders, envelopes, or labels or other identifying marks on the containers in
            which the documents were maintained. All scanned paper documents should be
            produced with OCR text in a corresponding TXT file.

      8.    Image Production Format. Searchable images should be produced as separate
            documents in either single-page Group IV TIFF format or multi-page PDF format,
            at least 300 DPI resolution, with corresponding TXT files. Imaged ESI should
            maintain all color properties, and scanned paper images should provide color
            when content of the document contains more than one color.

      9.    Document Production Numbering. Each page of all images produced (whether
            hard-copy documents or ESI) must be clearly labeled with an indelible, legible,
            unique Bates number identifier electronically "burned" onto the image.
            Reasonable steps shall be taken to place the Bates number or confidentiality
            designation at a location that does not obscure any content from the source
            document. There shall be no other branding placed on the document image,
            except to identify redactions due to privilege. To the extent possible, documents

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            and ESI shall be Bates numbered consecutively, maintaining all parent/child
            relationships as well as the order of the parent emails and corresponding
            attachments.

      10.   Load Files and Metadata. All native format and searchable image format
            production must include one or more CSV or Summation load files that associate
            each document and its Bates number with its corresponding TXT file, and that
            include the following original and processed metadata fields:

            For all imaged documents (ESI and scanned):

                   BegDoc
                   EndDoc
                   ParentlD
                   AttachmentlDs
                   BegAttach
                   EndAttach

            For all ESI (native and imaged):

                   FileName
                   Extension
                   Author
                   DateCreated
                   TimeCreated
                   DateLastMod
                   TimeLastMod
                   MD5Hash
                   Custodian
                   DupCustodians

            For all email:

                   MailTo
                   MailFrom
                   CC
                   BCC
                   Subject
                   DateAndTimeSent
                   DateAndTimeReceived
                   TimeZone
                   IntMsgID
                   Conversation
                   ConversationIndex
                   ParentlD

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                       AttachmentIDs
                       BegAttach
                       EndAttach

If production in the requested form is not reasonably available or practical, office personnel at
the undersigned law firm are available to discuss compatible alternatives.

       11.     Production Load Files. Two Load/Unitization files shall accompany all
               productions. All productions containing images must include an image load file
               that is in .LOG or .OPT format. For any productions containing native files, the
               metadata .DAT file should contain a NATIVELINK field that contains the
               path/link to each native file generated during production. The native files should
               be named with their corresponding bates numbers. All productions should include
               a metadata load file (.DAT file) containing all agreed upon metadata production
               fields and the delimiters should be standard Concordance delimiters:

               a.                        Column Delimiter:           (020)
               b.                        Field Delimiter:  p         (254)
               c.                        New Line Delimiter:         ®     (174)
               d.                        Multi-Entry Delimiter:            (059)

The following ASCII delimiters are also acceptable:

               e.                        Column Delimiter: A         (094)
               f.                        Field Delimiter:            (124)
               g.                        New Line Delimiter:                 (126)
               h.                        Multi-Entry Delimiter:              (059)

The first line of the .DAT file must contain the field names to each corresponding metadata field.
The name of the data load file should mirror the name of the delivery volume and the volume
names should be consecutive. If foreign language/Unicode text exists, the .DAT file shall contain
the appropriate encoding to enable preservation of the document's original language.

       12.     Searchable Files. (.TXT). Document level, searchable text files shall be provided
               for all production documents and be maintained in separate TEXT directories. All
               text files should be named with their corresponding bates numbers. The metadata
               .DAT file should contain a TEXTPATH field that contains the path/link to each
               corresponding text file generated during production. If foreign language/Unicode
               text exists, the .TXT files shall contain the appropriate encoding to enable
               preservation of the document's original language.

       13.     Privileged Documents. If any responsive document is withheld under any claim
               of privilege, provide a detailed privilege log that contains at least the following
               information for each document that you have withheld:


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             a.      the name of each author, writer, sender, creator, or initiator of such
                     document;
             b.      the name of each recipient, addressee, or party for whom such document
                     was intended;
             c.      the date of such document, or an estimate thereof if no date appears on the
                     document;
             d.      the general subject matter of the document; and
             e.      the claimed grounds for withholding the document, including—but not
                     limited to—the nature of any claimed privilege and grounds in support.

      14.    Duty to Preserve Documents. All documents and/or other data which relate to the
             subject matter or requests of this Subpoena Duces Tecum must be preserved. Any
             destruction involving such documents must cease, even if it is your normal or
             routine course of business to delete or destroy such documents or data and even if
             you believe such documents or data are privileged or otherwise need not be
             produced.

      15.    Duty to Supplement. All document requests are continuing in nature so as to require
             the supplementary production if you obtain further responsive documents or
             information. You are also required to amend your responses to the requests
             contained within this Subpoena Duces Tecum if you discover that the previous
             response was incorrect or incomplete.

                                       DEFINITIONS

A.    "All" shall be construed to include the collective as well as the singular and shall mean
      "each," "any," and "every."

B.    "Any" shall be construed to mean "any and all."

C.    "Benefits Consultant" shall mean any organization providing advisory services pertaining
      to the pharmacy benefit of a health insurance product or the administration of such a
      benefit.

D.    "Communications" shall mean and refer to any exchange of information by any means of
      transmissions, sending or receipt of information of any kind by or through any means
      including, but not limited to, verbal expression, gesture, writings, documents, language
      (machine, foreign, or otherwise) of any kind, computer electronics, email, SMS, MMS or
      other "text" messages, messages on "social networking" sites (including, but not limited
      to, Facebook, Google+, MySpace and Twitter), shared applications from cell phones,
      "smartphones," netbooks and laptops, sound, radio, or video signals, telecommunication,
      telephone, teletype, facsimile, telegram, microfilm or by any other means. It also
      includes, without limitation, all originals and copies of inquiries, discussions,
      conversations, correspondence, negotiations, agreements, understandings, meetings,


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      notices, requests, responses, demands, complaints, press, publicity or trade releases and
      the like that are provided by you or to you by others.

E.    "Document(s)" shall mean any writing or any other tangible thing, whether printed,
      recorded (in audio, video, electronically or by any other means), reproduced by any
      process, or written or produced by hand, including, but not limited to, letters,
      memoranda, notes, opinions, books, reports, studies, agreements, statements,
      communications (including inter-company and intra-company communications),
      correspondence, telegrams, email, instant messages, chat logs, SMS, MMS or other
      "text" messages, posted information, messages, chat logs on "social networking" sites
      (including, but not limited to, Facebook, Google+, MySpace and Twitter), logs,
      bookkeeping entries, summaries or records of personal conversations, diaries, calendars,
      telephone messages and logs, forecasts, photographs, images, tape recordings, models,
      statistical statements, graphs, laboratory and engineering reports, notebooks, charts,
      plans, drawings, minutes, bylaws, resolutions, records of conferences, expressions or
      statements of policy, lists of persons attending meetings or conferences, lists of clients or
      customers or suppliers, reports or summaries of interviews, opinions or reports of
      negotiations, brochures, pamphlets, advertisements, circulars, trade letters, press releases,
      drafts of any document and revisions of drafts of any document, and any other similar
      paper or record. The terms also include a copy of a document where the copy is not
      exactly the same as the original. The terms also include emails and other documents
      made or stored in electronic form, whether kept on computers, computer tapes, disks or
      drives, including Cloud storage, of any type, or other media upon which information may
      be recorded.

F.    "Hawai`i state program" includes the Hawaii Employer-Union Health Benefits Trust
      Fund and Hawaii's Medicaid program, known as Med-QUEST.

G.    "Identify" means:

      1.     When used in connection with a person, provide that person's name, current
             residential address and telephone number, job title, and current business address
             and telephone number. (If current information is not available, provide last-
             known address and telephone number.)

      2.     When used in connection with a Document, provide the nature of the Document,
             its title, physical description, date, author, its current location, and identification
             of the current custodian.

      3.     When used in connection with an oral communication, provide the nature of that
             communication, the parties to it, the date, place and substance of that
             communication, and the identification of any document concerning it.



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H.     "Including" is used merely to emphasize that a request for certain types of documents or
       information should not be construed as limiting the request in any way.

I.     "Manufacturer(s)" shall mean a manufacturer of prescription drugs.

J.     "Payer(s)" shall mean any organization that pays or insures health or medical expenses
       on behalf of beneficiaries or recipients including an employer (self-insured), a third-party
       administrator or administrative-services only health insurer (for themselves or on behalf
       of their clients), or a health insurance company.

K.     "Payment(s)" shall mean any transfer of money, goods, or services You received directly
       or indirectly from any Manufacturer. It includes, but is not limited to, statutory rebate
       payments, supplemental rebate payments, other rebate payments, research and
       development, administrative fees, distribution fees, service fees (rebate or non-rebate
       related), procurement fees, data access fees, chargeback fees, promotional payments, cash
       product discounts, sales volume related payments of any type not described above, and
       non-sales volume related payments of any type not described above.

L.     "Pharmacy benefit manager(s)" or "PBM(s)" shall mean any organization that
       administers prescription drug benefits on behalf of a Payer.

M.     "Relating to" shall mean directly or indirectly mentioning or describing, concerning,
       referring to, regarding, evidencing, setting forth, identifying, memorializing, created in
       connection with or as a result of, commenting on, embodying, evaluating, analyzing,
       tracking, reflecting or constituting, in whole or in part, a stated subject matter.

N.     "You" or "Your" refers to the person(s) or business entity(s) to whom this Subpoena
       Duces Tecum is directed as reflected on the first page. With respect to corporations or
       other business entities, these terms also shall be deemed to include all owners, officers,
       agents and employees thereof, and any predecessor, successor, parent, subsidiary,
       division, d/b/a and affiliated companies or other entities.

                                 RELEVANT TIME PERIOD

        The relevant time period, unless otherwise indicated in a specific request, is from January
1, 2010 to the present. The time limits should not be construed as date limits; for example, if a
policy or document in effect during the relevant time period was created before the relevant time
period, then documents dating back to the starting date of the policy must be produced.

                  REQUESTS FOR DOCUMENTS AND INFORMATION

        These requests are limited to documents and information relating to Hawaii, including,
but not limited to, documents and information that may be national or regional in scope that
apply to Hawai`i.


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1.    Produce all Documents sufficient to Identify the ten Manufacturers from which You have
      directly or indirectly received the largest Payments (as determined by the total dollar
      amount of Payments) per year from 2010-2021. Per the definitions listed above, the term
      Payments includes, but is not limited to, statutory rebate payments, supplemental rebate
      payments, other rebate payments, research and development, administrative fees,
      distribution fees, service fees (rebate or non-rebate related), procurement fees, data access
      fees, chargeback fees, promotional payments, cash product discounts, sales volume
      related payments of any type not described above, and non-sales volume related
      payments of any type not described above. Include the following in Your response:

      a.     The name of the Manufacturer making Payments; and
      b.     The total amount per year of the Payments.

      In lieu of providing actual documents, You may provide a narrative response containing
      the requested information.

2.    Produce all Documents sufficient to Identify the Payments made by each Manufacturer
      identified in response to Request 1 per year from 2010-2021. Aggregate payments of the
      same type per year. For example, all administrative fees for 2010 can be combined as one
      Payment. Include the following for each Payment in Your response:

      a.     A description of the Payment (e.g., statutory rebate payments, supplemental
             rebate payments, other rebate payments, research and development,
             administrative fees, distribution fees, service fees (rebate or non-rebate related),
             procurement fees, data access fees, chargeback fees, promotional payments, cash
             product discounts, sales volume related payments of any type not described
             above, and non-sales volume related payments of any type not described above);
      b.     The amount of each Payment;
      c.     A description of any service You performed relating to the Payment;
      d.     A description of any product or information You sold relating to the Payment
             (e.g., name of medications and volume purchased);
      e.     The name of the Payer or any other entity or individual with whom You shared
             any portion of the Payment;
      f.     The amount of the Payment You shared with a Payer or any other entity or
             individual; and
      g.     The amount of the Payment You retained.

      In lieu of providing actual documents, You may provide a narrative response containing
      the requested information.

3.    For all Hawai 1 state programs, produce documents sufficient to Identify the amount of
      Payments returned to the State or Medicaid managed care organization and the amount of
      Payments retained by You and a description of the Payments (e.g., rebate, administrative
      fees).


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      In lieu of providing actual documents, You may provide a narrative response containing
      the requested information.

4.    Produce all Documents reflecting or related to the negotiation of the Payments identified
      in Your response to Request 2 and 3.

5.    Produce all Communications with Manufacturers related to formulary coverage for any
      prescription drug for which You received Payments.

6.    Produce all financial and medical analyses related to the inclusion or exclusion of
      prescription drugs for which You received Payments.

7.    Produce all Documents sufficient to Identify the gross amount paid for prescription drugs
      manufactured by the Manufacturers identified in response to Request 1 per year from
      2010-2021 for prescription drugs.

      In lieu of providing actual documents, You may provide a narrative response containing
      the requested information.

8.    Produce all Documents sufficient to Identify all direct or indirect Payments (e.g., product
      based, volume based, or other Payments) You made to any Benefits Consultant working
      on behalf of a Payer, including:

      a.     The name of the Benefits Consultant;
      b.     The name of the Payer for whom the Benefits Consultant worked;
      c.     The date of the Payment;
      d.     The amount of the Payment; and
      e.     A description of the Payment (e.g., product based, volume based, or other
             Payments).

      In lieu of providing actual documents, You may provide a narrative response containing
      the requested information.

9.    Produce all Documents reflecting or related to direct or indirect Payments for Humira and
      every insulin product (including branded and authorized generics).

10.   Produce all Documents sufficient to Identify all direct or indirect Payments You received
      relating to Humira and every insulin product (including branded and authorized generics).
      Include in Your response, for each Payment:

      a.     The date of the Payment;
      b.     The time period which the Payment relates to;
      c.     The name of the Hawaii state program relating to the claim (if applicable);
      d.     The name of the Manufacturer making the Payment;
      e.     The amount of the Payment;

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      f.     A description the Payment (e.g., statutory rebate payments, supplemental rebate
             payments, other rebate payments, research and development, administrative fees,
             distribution fees, service fees (rebate or non-rebate related), procurement fees,
             data access fees, chargeback fees, promotional payments, cash product discounts,
             sales volume related payments of any type not described above, and non-sales
             volume related payments of any type not described above);
      g.     The name of the prescription drug relating to the Payment;
      h.     The list price for the prescription drug relating to the Payment;
      i.     The gross amount You paid for the prescription drug;
      j.     The number of units of the prescription drug You purchased relating to the
             Payment;
      k.     A description of any service You performed relating to the Payment;
      1.     The name of the Payer or any other entity or individual with whom You shared
             any portion of the Payment;
      m.     The amount of the Payment You shared with a Payer or any other entity or
             individual; and
      n.     The amount of the Payment You retained.
      o.     Beneficiary cost sharing requirement (fixed copayment, coinsurance)
      P.     Amount paid by the beneficiary
      q.     Total Amount paid to the pharmacy (including dispensing fee)
      r.     Post-purchase price adjustment of the prescription drug sale price
      s.     Other price agreements or guarantees related to the prescription drug.

      In lieu of providing actual documents, You may provide a narrative response containing
      the requested information.

11.   Produce all price lists, including any maximum allowable cost lists, applicable to the
      prescription drugs identified in Your response to Request 10 that relate to any Hawaii
      state program (e.g., EUTF, Medicaid).

12.   Produce all agreements and Documents reflecting or related to agreements with
      Manufacturers or any entity or individual affiliated with any Manufacturer related to
      Payments.

13.   Produce all Documents sufficient to Identify all departments and individuals involved in
      negotiations or agreement with Manufactures related to the purchase, coverage,
      promotion or sale of prescription drugs, including, but not limited to, the following:

      a.     the name of each department or individual;
      b.     the date each department was formed and (if applicable) dissolved;
      c.     the title(s) each individual has or had;
      d.     the name of the department(s) for which each individual works or worked
      e.     the relevant duties and responsibilities each individual has or had;
      f.     the dates of employment for each individual; and


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      g.     the last known contact information for each individual who no longer works for
             You.

      In lieu of providing actual documents, You may provide a narrative response containing
      the requested information.

14.   Produce all Documents reflecting or related to Communications relating to negotiations
      or agreements relating to Payments, including the target level of Payments or the impact
      of Payment levels on your Profits, or the value of any Payments to Your revenue or
      profits.

15.   Produce all Documents reflecting or related to Your projections or analyses relating to:
      (a) the value of Payments; (b) whether and how Payments are passed on to consumers (c)
      how Payments impact Your profitability; (d) how Payments impact Your bargaining
      power in negotiations with Manufacturers and/or Payers; (e) the impact or practice of
      classifying Payments in certain ways (e.g., classifying a Payment as a rebate rather than a
      fee or vice-versa); and/or (f) the relationship between Payments and list prices.

16.   Produce all Documents reflecting or related to the results of any audit (including both
      internal and third-party audits) relating to Your practices involving Payments, including,
      but not limited to, Your classification of any fees or rebates.

17.   Produce all Documents You relied upon when testifying before Congress about the
      pricing of prescription drugs.

18.   Produce all Documents relating to legislation or proposed legislation that could impact
      the Payments You receive, including, but not limited to, the proposed elimination of the
      safe harbor provision in 42 CFR 1001.952(h).

19.   Produce all Documents relating to any research or study You commissioned that
      examines Payments made to pharmacy benefit managers from Manufacturers.

20.   Produce all Documents reflecting or relating to any complaints or concerns You received
      relating to Your practices involving Payments, including, but not limited to, any
      complaints You received from Manufacturers, Payers, whistleblowers, and consumers.

21.   Produce all Documents sufficient to Identify all lawsuits filed against You relating to
      Your practices involving Payments, including, but not limited to, any lawsuits that allege
      You overcharged Payers and/or consumers for prescription drugs and/or that there is a
      relationship between the Payments You receive and the increase in list price of
      prescription drugs.

      In lieu of providing actual documents, You may provide a narrative response containing
      the requested information.


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22.   Produce all Documents produced in any government investigation or any litigation
      relating to Your practices involving Payments.

23.   Produce all settlement agreements or judgments relating to Your practices involving
      Payments.




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